

ORDER

PER CURIAM.
AND NOW, this 24th day of March, 2005, a Rule having been entered by this Court on January 31, 2005, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Michael David Rostoker to show cause why he should not be placed on temporary suspension and no response thereto having been filed, it is hereby
ORDERED that the Rule is made absolute; Michael David Rostoker is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and he shall comply with all the provisions of Rule 217, Pa. R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
